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  EXHIBIT 1
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                          Declaration of Special Agent Kelly A. McLeod
        I, Kelly A. McLeod, a Special Agent of the Federal Bureau of Investigation, under penalty
of perjury, do hereby declare:
      1. On Thursday, April 18, 2024,                            , a J.P. Morgan Private Client
         Advisor with J.P. Morgan Wealth Management, submitted an internal report by email
         concerning his client, Stephen Johnson. In the email, which J.P. Morgan has provided to
         the government, Mr.                    wrote:
         I had an odd phone conversation with Stephen Adom Adeiye Rattley Johnson ECI
         0412895265. He sent a secure message asking to liquidate his retirement account,
         I gave him a call to confirm the request and he was asking to send the funds to his
         checking account after settlement.
         He said he was going overseas tomorrow and that he will be in a remote location
         for a while without access to phone or computer that the wife will be in charge and
         should I have any questions I should contact her. Also he told me he liquidated his
         brokerage accounts and that it wasn’t letting him move the money I explained that
         settlement takes 3 business days he was asking how to move money out and that if
         he could do wire transfer without going to the branch and what are the wire limits
         and if there were any restrictions, I said I wasn’t sure but that I can ask one of the
         bankers at the branch to give him a call. I said that I wont be able to take requests
         from his wife because she is not a joint owner and that if he’d like we can add her
         as a joint owner he said he wont have time because he’s leaving the country.

         Because the call raised some flags I googled his name and I found the article below.
         I just want you to be aware.

      2. On Thursday, May 9, 2024, Assistant United States Attorney Paul V. Courtney and I spoke
         with Mr.                  by telephone. During the May 9, 2024, telephone call, Mr.
                         provided the following information:

             a. On Thursday, April 18, 2024, at 8:29 a.m., Mr. Johnson sent Mr.
                a secure message asking to liquidate his retirement account. 1 Mr. Johnson followed
                up with an email at 8:43 a.m. Mr.                     found both the request and the
                method of correspondence to be unusual for Mr. Johnson and followed up by calling
                him on the phone.

             b. Mr. Johnson sounded calm on the phone but seemed to be in a rush to get access to
                money. He explained that he was going out of the country the next day, would not
                have access to a computer or phone, and needed access to cash. Mr. Johnson stated
                that he wanted to liquidate his retirement account. Mr.                  thought

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    In the message, which J.P. Morgan has provided to the government, Mr. Johnson wrote: “Hi
         , I want to sell all stocks in my retirement account and move the funds to my checking.”
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       that this was an odd request because any retirement account withdraws would be
       subject to a tax penalty given that Mr. Johnson is not yet 59 ½ years old. Mr.
                          encouraged Mr. Johnson to come into a local branch to discuss
       the required paperwork. Although the paperwork can be completed online via
       DocuSign, Mr.                     did not present that option because he found the
       situation to be suspicious and wanted to speak with Mr. Johnson in person. Mr.
       Johnson indicated that he did not have time to come into the branch.

   c. Mr. Johnson also indicated that he had liquidated his brokerage account and wanted
      to move the funds into his checking account. Mr.                     explained that
      the funds required three days to clear and could not yet be moved. In reviewing the
      account, he could see that Mr. Johnson had been executing trades online into the
      early morning hours.

   d. Mr.                     found Mr. Johnson’s activity to be suspicious because it
      made little financial sense and would have been against his advice: Mr. Johnson
      had liquidated hundreds of thousands of dollars in equity that is subject to capital
      gains tax.

   e. Mr. Johnson told Mr.                      that his wife would be controlling the
      account in his absence. Mr.                         explained that he could not
      communicate with or take orders from Mr. Johnson’s wife because she is not listed
      on the accounts. He explained that Mr. Johnson could complete a power of attorney
      form and invited him into the branch. Mr. Johnson indicated that he did not have
      time to do so.

   f. Mr.                   initially thought Mr. Johnson might have been referring to a
      military deployment. He decided to Google Mr. Johnson’s name and learned that,
      one day earlier, Mr. Johnson had been convicted of federal child pornography
      offenses. Mr.                     then made the internal report discussed above.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on May 13, 2024.


                                                      _____________________________
                                                      Kelly A. McLeod
                                                      Special Agent
                                                      Federal Bureau of Investigation
